 1                  IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MISSOURI
 2                           WESTERN DIVISION

 3
      UNITED STATES OF AMERICA,        )
 4                                     )
                    Plaintiff,         )   No. 18-00293-22-CR-W-DGK
 5                                     )   April 16, 2021
             V.                        )   Kansas City, Missouri
 6                                     )   CRIMINAL
      CHRISTAPHER DEAN PARTON,         )
 7                                     )   VIDEOCONFERENCE HEARING
                    Defendant.         )
 8                                     )

 9

10
                       TRANSCRIPT OF CHANGE OF PLEA
11
                  BEFORE THE HONORABLE DAVID GREGORY KAYS
12                     UNITED STATES DISTRICT JUDGE

13          Proceedings recorded by electronic stenography
                   Transcript produced by computer
14

15                     APPEARING BY VIDEOCONFERENCE

16
      For Plaintiff:             MR. BRUCE A. RHOADES
17                               Assistant U.S. Attorney
                                 400 E. 9th Street, 5th Floor
18                               Kansas City, MO 64106

19    For Defendant:             MS. LINDA KOCH MARSHALL
                                 Attorney at Law
20                               2431 NW Valley View Drive
                                 Lee's Summit, MO 64081
21

22

23

24

25


                         Kathleen M. Wirt, RDR, CRR
                        United States Court Reporter
          400 E. 9th Street, Suite 7452 * Kansas City, MO 64106
                                 816.512.5608
 Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 1 of 33
                                                                              2

 1                                  APRIL 16, 2021

 2                                        - - -

 3                 THE COURT:     Good morning.   This is -- first let me

 4    see, is it Mr. Parton?       Can you hear me, sir?

 5                 Mr. Parton, sir, if you would touch your screen, and

 6    you'll see an option to unmute because we can't hear you yet.

 7    There you go.     Can you hear me, sir?

 8                 THE DEFENDANT:    Yes, sir.

 9                 THE COURT:     Okay.   Thank you.   Welcome to you, Mr.

10    Parton.

11                 This is Case 18-293-22, United States of America

12    versus Mr. Christapher Dean Parton.         Welcome to everyone.        I

13    note for the record that Mr. Parton appears -- I believe he's

14    in Caldwell County Jail.       He appears remotely today.        Also

15    appearing today is his attorney, Ms. Linda Marshall.             Welcome,

16    Ms. Marshall.

17                 MS. MARSHALL:     Thank you, Your Honor.

18                 THE COURT:     Also appearing today is our Assistant

19    United States Attorney, Mr. Bruce Rhoades.         Welcome to you,

20    Mr. Rhoades.

21                 MR. RHOADES:     Good morning, Your Honor.

22                 THE COURT:     And also appearing today is United

23    States Probation Officer Matthew Falkner.

24                 And I note that we have a number of people who are

25    watching.    If those people who are watching -- we welcome you,



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 2 of 33
                                                                        3

 1    but you need to mute your device, if you would.          That would

 2    help us make a -- do our job and make a better record.

 3                 Mr. Parton, a couple of things before we get started

 4    here today.    I know that Ms. Marshall does a good job of

 5    explaining this to her clients; but still yet, if you have a

 6    question during the course of this hearing, it will be very

 7    important for you to let us know.        Will you do that, sir?

 8                 THE DEFENDANT:    Yes, sir.

 9                 THE COURT:    If you do that, I'll tell you that we'll

10    stop what we're doing, and I'll work to answer any of your

11    questions, or you can talk to Ms. Marshall.         I'm confident she

12    can answer your questions.       But unless we hear from you, sir,

13    we're going to presume that you understand everything that

14    we're doing.    You understand that?

15                 THE DEFENDANT:    Yes, sir.

16                 THE COURT:    Also, Mr. Parton, we have this tool that

17    we can use where if you need to talk to Ms. Marshall during the

18    course of this, all you've got to do is let us know; and if you

19    let us know that you want to talk to your attorney, we'll put

20    you in a private room where no one can hear you with just you

21    and Ms. Marshall.     But we'll wait for you to tell us if you

22    want to exercise that option, okay?

23                 THE DEFENDANT:    Okay.

24                 THE COURT:    And next I'd like to talk to you about

25    the fact that we're doing this virtually, right?          This is a new



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 3 of 33
                                                                        4

 1    way of doing things, and we're doing this in light of the

 2    global pandemic.     It's still part of that process, and we have

 3    a statute that the President signed and Congress passed called

 4    the CARES Act, and that's how we're doing this.          But in order

 5    for us to conduct this hearing, you have to consent and say

 6    it's all right.     And Ms. Marshall filed a document with us,

 7    it's Document 460.     It's defendant's motion to appear at change

 8    of plea hearing by videoconferencing, and you're the one who

 9    agreed to this; is that correct, sir?

10                 THE DEFENDANT:    Yes, sir.

11                 THE COURT:    And you knew she was going to file that

12    motion on your behalf; is that correct?

13                 THE DEFENDANT:    Yes, sir.

14                 THE COURT:    And by doing so -- I always tell people

15    we can't do this without your consent, but the fact that you

16    consented or we're doing it this way doesn't really help or

17    hurt your case, it just moves it along in a more timely

18    fashion.    You understand that?

19                 THE DEFENDANT:    Yes, sir.

20                 THE COURT:    And basically in the motion -- I'm not

21    going to read it all because it's very well crafted, but

22    Ms. Marshall states that you consent to this.          In fact, you're

23    asking to have this hearing virtually instead of waiting for a

24    court date in the future to do it in person.          Is that correct?

25                 THE DEFENDANT:    Yes, sir.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 4 of 33
                                                                         5

 1                 THE COURT:    And, Mr. Parton, you're also saying --

 2    she's also saying, pursuant to the CARES Act, that your case

 3    fits within that criteria and that further delay would be an

 4    injustice in your case.       Do you agree with that, sir?

 5                 THE DEFENDANT:    Yes, sir.

 6                 THE COURT:    Okay.   So at this time, I am going to --

 7    do you have any questions about that motion, sir, that

 8    you're --

 9                 THE DEFENDANT:    No, sir.

10                 THE COURT:    All right.     Thank you, Mr. Parton.   Then

11    at this time I will sustain this motion to appear via video.

12    So thank you for that.

13                 So, Mr. Parton, I have a number of questions that I

14    want to go through.       Like I said, if you have any questions,

15    please let us know.

16                 Please begin, sir, by speaking your full name and

17    spelling your last name for us, sir.

18                 THE DEFENDANT:    Christapher Parton, P-A-R-T-O-N.

19                 THE COURT:    And your middle name is Dean; is that

20    correct, sir?

21                 THE DEFENDANT:    Yes, sir.

22                 THE COURT:    Mr. Parton, sir, what is your date of

23    birth?

24                 THE DEFENDANT:    04/25/1989.

25                 THE COURT:    And how old does that make you, sir?



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 5 of 33
                                                                       6

 1                 THE DEFENDANT:    Thirty-one.

 2                 THE COURT:    And where are you from, Mr. Parton?

 3                 THE DEFENDANT:    St. Joseph, Missouri.

 4                 THE COURT:    Okay.   Is that where you lived before

 5    you were incarcerated, sir?

 6                 THE DEFENDANT:    I was living in Kansas City before I

 7    was incarcerated, but that's where I've lived most of my life.

 8                 THE COURT:    Yes, sir.    What's the highest level of

 9    education which you've completed, sir?

10                 THE DEFENDANT:    I've completed high school and got

11    my diploma, and then I got a year at a trade school at

12    Hillyard, Hillyard Tech for automotive technology.

13                 THE COURT:    Very good.    And so that means you can

14    read and write; is that correct?

15                 THE DEFENDANT:    Yes, sir.

16                 THE COURT:    What kind of work do you do?

17                 THE DEFENDANT:    I'm a mechanic, and also I do lawn

18    care and landscaping.      Construction, but mostly automotive and

19    lawn care and landscaping.

20                 THE COURT:    Automotive and lawn care/landscaping.

21    So describe your physical health for us today, Mr. Parton.

22                 THE DEFENDANT:    Other than having some back pain,

23    I'm doing all right.

24                 THE COURT:    Other than back pain, you have good

25    physical health?



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 6 of 33
                                                                       7

 1                 THE DEFENDANT:    Yes.

 2                 THE COURT:    Has the doctor diagnosed you with any

 3    specific back issue, sir?

 4                 THE DEFENDANT:    No, I think it's just to do with

 5    just stuff here, like the shoes and what I'm sleeping on.         I'm

 6    seeing a nurse today hopefully.

 7                 THE COURT:    Okay.   So you don't, haven't received a

 8    diagnosis.    Are you taking any medication to help mitigate or

 9    help you with that pain, sir?

10                 THE DEFENDANT:    No, not yet.

11                 THE COURT:    Okay.

12                 THE DEFENDANT:    Hopefully today that will change.

13                 THE COURT:    So other than that, you're in good

14    physical health; is that true?

15                 THE DEFENDANT:    Yes, sir.

16                 THE COURT:    Let's talk about your mental health.      Do

17    you suffer from any mental illness or emotional disability or

18    problem?

19                 THE DEFENDANT:    Anxiety and depression.

20                 THE COURT:    Have you been diagnosed by a doctor with

21    those problems?

22                 THE DEFENDANT:    I've seen a doctor before, and I've

23    been on medication before, and I don't think I've fully been

24    diagnosed, if you want to say.        I don't know how else really to

25    say it.    I'm sorry.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 7 of 33
                                                                         8

 1                 THE COURT:    Okay.     That's all right.   You think that

 2    there's more to it and a doctor could tell you more; is that

 3    fair?

 4                 THE DEFENDANT:    Yeah.

 5                 THE COURT:    And do you take medication today

 6    regarding that?

 7                 THE DEFENDANT:    No.

 8                 THE COURT:    Okay.     And it's fair to say, Mr. Parton,

 9    I can imagine that you're under some stress in your current

10    situation.    Is that fair?

11                 THE DEFENDANT:    Yes, sir.

12                 THE COURT:    Do you think these symptoms of anxiety

13    and depression affect your ability to work with Ms. Marshall

14    and help her in your defense and understand what we're doing?

15                 THE DEFENDANT:    No.

16                 THE COURT:    You understand things, you're just

17    stressed out, basically; is that fair?

18                 THE DEFENDANT:    Yeah, that's fair.

19                 THE COURT:    And so we've covered everything.

20    There's no medications you're taking right now, either

21    over-the-counter or prescription; is that right?

22                 THE DEFENDANT:    I'm taking blood pressure medicine,

23    but that's it.

24                 THE COURT:    Okay.     Let's get back to the blood

25    pressure medicine.     You've been diagnosed with high blood



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 8 of 33
                                                                           9

 1    pressure, I guess, right?

 2                 THE DEFENDANT:    Yes.

 3                 THE COURT:    Okay.   We would put that under your

 4    physical health category.

 5                 THE DEFENDANT:    I --

 6                 THE COURT:    And how long -- I'm sorry, sir?

 7                 THE DEFENDANT:    I didn't think of that.      I didn't --

 8                 THE COURT:    That's all right.     It happens all the

 9    time.   Don't worry about it, Mr. Parton.

10                 THE DEFENDANT:    Okay.

11                 THE COURT:    How long have you been taking blood

12    pressure medication, sir?

13                 THE DEFENDANT:    For about a year now.

14                 THE COURT:    Okay.   And you're taking the medication

15    while you're incarcerated, as well; true?

16                 THE DEFENDANT:    Yes, sir.

17                 THE COURT:    Does that affect your ability to

18    understand or appreciate what we're doing here today, sir?

19                 THE DEFENDANT:    No, sir.

20                 THE COURT:    Do you remember the name of that

21    medication, sir?

22                 THE DEFENDANT:    I think -- I can't remember,

23    honestly.

24                 THE COURT:    Okay.   That's all right.     That's no

25    problem.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 9 of 33
                                                                            10

 1                 THE DEFENDANT:     I can't give you a solid answer.

 2     You know what I mean?

 3                 THE COURT:    That's good, that's fine.      We just want

 4     you to do your best, and not everybody remembers that.           I

 5     certainly understand.

 6                 Ms. Marshall, is it your opinion that your client is

 7     competent, clear-headed, and able to understand what we're

 8     doing in this case, ma'am?

 9                 MS. MARSHALL:    It is, Your Honor.

10                 THE COURT:    Has he been that way for the duration of

11     your representation?

12                 MS. MARSHALL:    Yes, Your Honor.

13                 THE COURT:    Thank you, Ms. Marshall.

14                 So, Mr. Parton, have any other attorneys other than

15     Miss Linda Marshall represented you in this matter?

16                 THE DEFENDANT:     Could I talk with Linda for a

17     second?    If she wants to --

18                 THE COURT:    Do you want to talk to your attorney?

19                 MS. MARSHALL:    Your Honor, there was an attorney

20     that represented him when he went and did a -- made a statement

21     to federal authorities, and this was before he was formally

22     charged.

23                 THE COURT:    Okay.   But since he's been formally

24     charged, you've represented him; is that right?

25                 MS. MARSHALL:    That is correct.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 10 of 33
                                                                          11

 1                 THE COURT:    Do you agree with that, Mr. Parton?

 2                 THE DEFENDANT:     Yes, sir.

 3                 THE COURT:    And we don't remember the attorney's

 4     name, do we?

 5                 MS. MARSHALL:    It was James...

 6                 THE DEFENDANT:     Patterson, I think?     Patton?

 7                 THE COURT:    Okay.   That's all right.     That's all

 8     right.

 9                 THE DEFENDANT:     Okay.

10                 THE COURT:    Do you still -- can we go forward, or do

11     you want to talk to your attorney, Mr. Parton?

12                 THE DEFENDANT:     I think we're good.     We can go

13     forward, Your Honor.

14                 THE COURT:    Okay.   It takes a little while to do

15     that, so -- but I don't want you to be afraid to ask for that,

16     but it does take a little time to do that.

17                 So here is the deal.       The -- Ms. Marshall has

18     represented you since you were charged, but before that,

19     another attorney, pre-indictment, worked with you; is that

20     fair?

21                 THE DEFENDANT:     Yes, Your Honor.

22                 THE COURT:    And do you have any complaints about

23     anything these attorneys have done for you?

24                 THE DEFENDANT:     No, Your Honor.

25                 THE COURT:    Okay.   Let's talk about -- the person



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 11 of 33
                                                                             12

 1     before, whatever his name was, he didn't do anything to affect

 2     or hurt, undermine your case; is that right?           Or it may not be

 3     right, I don't know.     I'm sorry, I don't want to put words in

 4     your mouth, sir.

 5                 THE DEFENDANT:     You're not.       I'm just -- I just

 6     don't really know how to answer that question.

 7                 THE COURT:    Here is the way I look at this.

 8     Notwithstanding anything your attorney did, the first attorney,

 9     you would still be here today pleading guilty under these

10     circumstances; is that true?

11                 THE DEFENDANT:     Yes, Your Honor.

12                 THE COURT:    Okay.      Let's talk about Ms. Marshall.

13     Are you satisfied with her representation?

14                 THE DEFENDANT:     Yes, Your Honor.

15                 THE COURT:    Do you have any complaints about

16     anything she did do or failed to do on your behalf, sir?

17                 THE DEFENDANT:     No.    No, sir.

18                 THE COURT:    Now, I know Ms. Marshall does good work,

19     but there's one thing she can't do for you.           She can't make the

20     decision to plead guilty.      Hopefully you've counseled with her,

21     you've maybe talked to friends or family, but you understand

22     you're the only one, Mr. Christapher Parton is the only one who

23     can make a decision about whether or not he pleads guilty.             Do

24     you understand that?

25                 THE DEFENDANT:     Yes, sir.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 12 of 33
                                                                        13

 1                  THE COURT:   So the question is, is it your decision

 2     and your decision alone to plead guilty, sir?

 3                  THE DEFENDANT:    Yes, Your Honor.

 4                  THE COURT:   And it's my understanding that you and

 5     the government have entered into a plea agreement; is that

 6     true, sir?

 7                  THE DEFENDANT:    Yes, Your Honor.

 8                  THE COURT:   So what I would like to do is I'm going

 9     to ask my courtroom deputy clerk to put that plea agreement on

10     the screen for us to look at, and I just want to go over

11     part -- it's all important, but I just want to go over part of

12     it with you, okay?

13                  THE DEFENDANT:    Yes, sir.

14                  THE COURT:   So here is the cover sheet.

15                  Could you make that a little bit bigger, Miss

16     Strodtman?

17                  Can you see that, Mr. Parton?

18                  THE DEFENDANT:    Yes, sir.

19                  THE COURT:   Does this look like the cover sheet of

20     that plea agreement that you signed?

21                  THE DEFENDANT:    Yes, sir.

22                  THE COURT:   Let's go to the very back page, I think

23     it's Page 19.    This is 19 pages long.      It says there on

24     March 19, 2021 -- is that your signature above your name?

25                  THE DEFENDANT:    Yes, Your Honor.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 13 of 33
                                                                         14

 1                  THE COURT:   Did you sign this document to indicate

 2     to me that you've read this and you've understood this?

 3                  THE DEFENDANT:    Yes, Your Honor.

 4                  THE COURT:   Now, you understand this is an agreement

 5     you have with the government, this is not my agreement.          You

 6     understand that?

 7                  THE DEFENDANT:    Yes, sir.

 8                  THE COURT:   You understand that judges -- that I

 9     respect these agreements, but I don't have to follow these

10     agreements.    Do you understand that?

11                  THE DEFENDANT:    Yes, sir.

12                  THE COURT:   Okay.   And it says here -- you've talked

13     about a lot of things, you've worked with your attorney on

14     this, and this is your decision, basically; true.

15                  THE DEFENDANT:    Yes, Your Honor.

16                  THE COURT:   Let's go to Paragraph 2, which is found

17     on Pages 1 and 2.     This is what you're pleading guilty to, and

18     I always like to talk to people about this.         I know you know

19     this stuff, but I just want to make sure you and I are on the

20     same page.

21                  THE DEFENDANT:    Yes, sir.

22                  THE COURT:   There's parts of this the government is

23     dismissing, but there's parts of this you're pleading guilty

24     to; is that right?

25                  THE DEFENDANT:    Yes, sir.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 14 of 33
                                                                            15

 1                 THE COURT:    So it says here you're pleading guilty

 2     to the following.     Count One of the third superseding

 3     indictment is conspiracy to distribute methamphetamine.             You're

 4     pleading guilty to that count; is that true?

 5                 THE DEFENDANT:     Yes, sir.

 6                 THE COURT:    The next page, Count Two of the third

 7     superseding indictment, the charge of conspiracy to commit

 8     money laundering.     Do you understand that charge?

 9                 THE DEFENDANT:     Yes, sir.

10                 THE COURT:    Next is -- Count Four is that you

11     carried, possessed, or used firearms during, in relation to, or

12     in furtherance of drug trafficking.        You understand that

13     charge; is that correct?

14                 THE DEFENDANT:     Yes, Your Honor.

15                 THE COURT:    And then there's an allegation of

16     forfeiture.    You're agreeing to a forfeiture, but also a money

17     judgment to be assessed against you.        And generally, it's an

18     amount of the street value of the drugs that you're responsible

19     for, times the amount of drugs, right?        They take the value

20     times how many drugs, how much -- the weight of the drugs

21     that's assessed to you.      Do you understand that's how that's

22     calculated, generally?

23                 THE DEFENDANT:     Yes, sir.

24                 THE COURT:    Okay.   So that's Paragraph 2.         Do you

25     have any questions about the nature of the charges that are



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 15 of 33
                                                                            16

 1     filed against you, sir?

 2                 THE DEFENDANT:     No, sir.

 3                 THE COURT:    Okay.   I know you and Ms. Marshall have

 4     covered that very well.

 5                 Next, if you'll turn to Paragraph 5, Madam Clerk,

 6     it's Page 5 and 6.     I have to go over this with you.          This is

 7     labeled statutory penalties, Mr. Parton.

 8                 THE DEFENDANT:     Uh-huh.

 9                 THE COURT:    Sir, this is what Congress has said the

10     punishment is that's associated with these particular, these

11     three charges, right?

12                 THE DEFENDANT:     Yes, sir.

13                 THE COURT:    So I need to make sure you understand

14     the range of punishment.      This isn't necessarily what you're

15     going to get, this is just the range of punishment that the

16     Court considers.     You understand that?

17                 THE DEFENDANT:     Yes, sir.

18                 THE COURT:    So Count One, the conspiracy to

19     distribute methamphetamine, says the maximum penalty the Court

20     may impose is not more than 20 years in prison and not more

21     than a million dollar fine, and the Court shall impose not less

22     than three years supervised release.        You understand that's the

23     range of punishment of Count One?

24                 THE DEFENDANT:     Yes, Your Honor.

25                 THE COURT:    Count Two, the conspiracy to commit



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 16 of 33
                                                                          17

 1     money laundering, the maximum penalty the Court may impose is

 2     not more than 20 years' imprisonment, not more than a $500,000

 3     fine, and the Court shall not impose -- shall impose not more

 4     than three years of supervised release, and this is a Class C

 5     felony.   Do you understand that range of punishment, sir?

 6                 THE DEFENDANT:     Yes, Your Honor.     Yes, Your Honor.

 7                 THE COURT:    Okay.   Count Four, which is the gun

 8     charge, the Court must impose -- the minimum penalty the Court

 9     must impose is five years in prison, consecutive or after any

10     other sentence imposed, while the maximum penalty the Court may

11     impose is not more than life imprisonment, consecutive to any

12     other sentence imposed, and not more than a $250,000 fine.           And

13     the Court shall impose not more than five years of supervised

14     release, and this is a Class A felony.        You understand the

15     punishment related to those charges?

16                 THE DEFENDANT:     Yes, Your Honor.

17                 THE COURT:    Or that charge.

18                 THE DEFENDANT:     Yes, sir.

19                 THE COURT:    And then also you acknowledge you

20     understand the forfeiture, that you're agreeing that certain

21     things can be forfeited to you, correct?

22                 THE DEFENDANT:     Yes, Your Honor.

23                 THE COURT:    And there's also an -- you have three

24     felonies that you're pleading guilty to.        And there's a $100

25     mandatory special assessment, which is required by statute.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 17 of 33
                                                                           18

 1     You understand that will be assessed on each count.

 2                 THE DEFENDANT:     Yes, Your Honor.

 3                 THE COURT:    And so you understand you could be

 4     sentenced anywhere within that range, those ranges of

 5     punishment which we discussed, correct?

 6                 THE DEFENDANT:     Yes, sir.

 7                 THE COURT:    Okay.   I'm moving on, but we can always

 8     go back to stuff.     If you ever want to go back to stuff we're

 9     talking about, Mr. Parton, I'll be happy to go with you.            Okay?

10                 THE DEFENDANT:     Okay.   Thank you, Your Honor.

11                 THE COURT:    Yes, sir.    So the next part I'd like to

12     talk about is Paragraph 3 of the plea agreement, and it's found

13     on Pages 2, 3, 4, and 5.

14                 This is the factual basis for guilty plea.           And if

15     we look at the very first part of this, it says the parties

16     agree that the facts constituting the offenses to which the

17     defendant is pleading guilty are as follows.         Then it lists,

18     you know, three or four pages of stuff.        You've agreed to all

19     of this stuff, though, right?

20                 THE DEFENDANT:     Yes, Your Honor.

21                 THE COURT:    So basically when we talk about this

22     part of it, Mr. Parton, we're talking about you and the

23     government got together and said, Judge, these are the true

24     facts of the case; is that correct?

25                 THE DEFENDANT:     Yes, Your Honor.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 18 of 33
                                                                           19

 1                  THE COURT:   Any questions about Paragraph 3?

 2                  THE DEFENDANT:    No, sir.

 3                  THE COURT:   Okay.   I'm going to move on, then.       So

 4     let's go to Paragraph 15, if we could, that's found on Page 15,

 5     as it turns out.     Paragraph 15 is labeled Waiver of Appellate

 6     and Post-Conviction Rights.       Do you see that?

 7                  THE DEFENDANT:    Yes, Your Honor.

 8                  THE COURT:   Paragraph 15 represents something you're

 9     giving up.    In every plea agreement, there are things that

10     benefit you, and there are things that benefit the government.

11     This is an example of something that benefits the government.

12     You're saying in exchange for whatever benefit you receive,

13     you're agreeing that you will not appeal this case, you waive

14     your right to appeal, and you waive your right to file

15     post-conviction motions in all respects, except for three,

16     which you can't waive:      ineffective assistance of counsel,

17     prosecutorial misconduct, or illegal sentence.         In all other

18     ways, you're waiving your rights.         Do you understand that?

19                  THE DEFENDANT:    Yes, Your Honor.

20                  THE COURT:   Any questions about Paragraph 15, sir?

21                  THE DEFENDANT:    No, sir.

22                  THE COURT:   Okay.   All right.    Thank you, Madam

23     Clerk, we'll take this down.       If there's anything else you want

24     to talk about on that plea agreement, let me know, okay,

25     Mr. Parton?    It's all important, but those are the things I'm



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 19 of 33
                                                                        20

 1     required to highlight.      Okay?

 2                 THE DEFENDANT:     Yes, Your Honor, thank you.

 3                 THE COURT:     Okay.    So let's start, if we could, with

 4     Mr. Rhoades.    Could you state pursuant to the Lafler and Frye

 5     cases, sir, what prior formal plea agreements were extended to

 6     Mr. Parton?

 7                 MR. RHOADES:     There were no prior formal plea

 8     agreements, Judge.     There was a lot of discussion back and

 9     forth about resolution of the case; but as far as any formal

10     plea agreements, there were no other formal plea agreements

11     made.   Or, I'm sorry.     There were no other formal plea offers

12     made.   There was a slew of discussion back and forth --

13                 THE COURT:     Yeah.

14                 MR. RHOADES:     -- for many weeks, multiple e-mails,

15     but there were no other formal plea offers made, other than the

16     one as reflected in this plea agreement.

17                 And, Judge, even if there was something that one

18     party or the other would consider a formal plea offer, none of

19     those were better than what is currently reflected in the plea

20     agreement before the Court.

21                 THE COURT:     Thank you, sir.

22                 Ms. Marshall, I know you work very hard to try to

23     get the best outcome for your clients, and there's a lot of

24     back and forth, and certainly we don't have time to cover all

25     of that because that's taken place over a long period of time.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 20 of 33
                                                                              21

 1     But do you agree that this is the only formal plea offer

 2     extended to your client, ma'am?

 3                 MS. MARSHALL:    I do.      And for the record, Your

 4     Honor, the prior attorney -- I looked up in my case file.              The

 5     prior attorney was James Griffith.

 6                 THE COURT:    Okay.

 7                 MS. MARSHALL:    Just so it's in the record.

 8                 THE COURT:    Okay.      Thank you.   Thank you.     All

 9     right.   Thank you, Ms. Marshall.

10                 Mr. Parton, did you hear all of that?         Ms. Marshall

11     is working hard to try to get the best outcome, and there's a

12     lot of "would you consider this" and "would you consider that,"

13     but that's not what we're talking about, what was formally

14     offered to Mr. Parton.      And they're telling me this is your

15     only formal offer you've received; is that right?

16                 THE DEFENDANT:     Yes, Your Honor.

17                 THE COURT:    Do you have any questions about that,

18     sir?

19                 THE DEFENDANT:     No.    I mean, I think Linda has gone

20     over with me -- or Ms. Marshall has gone over with me

21     everything pretty well.

22                 THE COURT:    Okay.      Very good.   All right.

23                 So, Mr. Rhoades, would you please make a -- tell us,

24     state for the record what you believe the government's evidence

25     would be if this case went to trial?         Would you do that briefly



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 21 of 33
                                                                        22

 1     and slowly, please, sir?

 2                 MR. RHOADES:    Yes, sir.    Judge, as I always do, I,

 3     of course, for the record reference the Court and the record to

 4     the plea agreement, and specifically within the plea agreement

 5     Paragraph 3.

 6                 But for the purposes of the record, Judge,

 7     essentially what the government would produce in a trial of

 8     this matter would be a number of lay witnesses and law

 9     enforcement that would lay out in some detail the fact that

10     Mr. Parton was involved with a multitude of other people in

11     obtaining and distributing methamphetamine in an amount

12     exceeding 500 grams.     That conspiracy that he was involved in

13     was operated partly or maybe even completely within the Western

14     District of Missouri and at some point during the dates alleged

15     in the indictment.     And also, those people would testify about

16     what Mr. Parton's role in that was, and some of that role would

17     be that he would obtain methamphetamine and distribute to

18     others that, then, would distribute it, and then he would

19     collect money either on the front end or later for those -- for

20     that methamphetamine and use that money to pay for additional

21     amounts of methamphetamine or other related things in lieu of

22     using funds that he had spent on methamphetamine, therefore,

23     again, the money laundering conspiracy.

24                 And finally, Judge, that also during this conspiracy

25     and related to it and in furtherance of the conspiracy,



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 22 of 33
                                                                        23

 1     Mr. Parton was in possession of firearms, at least one firearm,

 2     during the dates charged in the indictment, and, again, within

 3     the Western District of Missouri, and that a lot of times that

 4     possession was related to trading methamphetamine for firearms

 5     or carrying firearms while -- related to the distribution

 6     activity.

 7                 I think that covers pretty much all of the elements,

 8     Judge.   I would add that the money judgment would be related

 9     specifically to Mr. Parton's, the weight that the Court

10     ultimately finds Mr. Parton responsible for.         Not the entire

11     conspiracy weight, just the weight that they ultimately find

12     him responsible for, and the -- using the monetary calculations

13     that are in that forfeiture allegation.

14                 I think that covers all of the counts to which Mr.

15     Parton is pleading guilty, Judge.

16                 THE COURT:    All right.    Mr. Parton, sir, did you

17     hear all of that?

18                 THE DEFENDANT:     Yes, sir.

19                 THE COURT:    I think Mr. Rhoades is very faithful to

20     Paragraph 3 of the plea agreement, that part of the plea

21     agreement where you and the government agreed to certain facts.

22     Is there any part of that you disagree with, sir?

23                 THE DEFENDANT:     No, Your Honor.

24                 THE COURT:    So let me go through this just briefly

25     with you.   I want to go through the elements.        You are -- Count



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 23 of 33
                                                                         24

 1     One is conspiracy to distribute methamphetamine.          So Count One

 2     says in the indictment, sometime between on or about -- well,

 3     it doesn't say sometime.      It says between on or about January

 4     1, 2017, and July 21, 2020, the exact dates unknown to the

 5     grand jury.    So it's during that time frame, at some times,

 6     more than one time during that time frame, you worked with

 7     other people to sell methamphetamine.        Is that true?

 8                 THE DEFENDANT:     Yes, Your Honor.

 9                 THE COURT:    How would you -- you know, we talk about

10     conspiracies or agreements with one or more persons to -- you

11     had an agreement with one or more persons to sell

12     methamphetamine.     How was -- what was your job, Mr. Parton?

13     How would you describe your role in this conspiracy, sir?

14                 THE DEFENDANT:     I was more like a mule.      I would go

15     down to Kansas City, pick up, and then go to St. Joe.

16                 THE COURT:    So you would -- would you pay the people

17     in Kansas City for this and then sell it to people in St. Joe?

18     Is that how it worked?

19                 THE DEFENDANT:     Yeah.

20                 THE COURT:    Okay.   You would buy a large amount, and

21     then you would sell it in smaller amounts; is that how it

22     worked, sir?

23                 THE DEFENDANT:     Yes, Your Honor.

24                 THE COURT:    Okay.   And you did this on more than one

25     occasion, it says in the plea agreement.        Is that right?



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 24 of 33
                                                                         25

 1                  THE DEFENDANT:    Yes, Your Honor.

 2                  THE COURT:   And the reason people do this,

 3     generally, Mr. Parton, is they do it -- they make money.         They

 4     get money to live on, and they also get -- they also get the

 5     benefit of methamphetamine for themselves.         It's usually both,

 6     right?

 7                  THE DEFENDANT:    Yes, Your Honor.

 8                  THE COURT:   Is that how it worked for you, sir?

 9                  THE DEFENDANT:    Yeah, I was -- I wasn't working at

10     the time and needed to make money and slipped into doing the

11     wrong thing, honestly.

12                  THE COURT:   Okay.   I appreciate your honesty with

13     us, sir.     So, basically, whatever profits that you derived from

14     that, you were using those to live on.        Were you using those to

15     get methamphetamine too?      Were you using methamphetamine at the

16     same time?

17                  THE DEFENDANT:    Yes.    And also just using it to live

18     on, to survive on.

19                  THE COURT:   And to buy more methamphetamine, right?

20                  THE DEFENDANT:    Yeah.

21                  THE COURT:   Okay.   And then during this time, and

22     this is something we see in most of these cases, you were

23     working with these other people.        At different times during

24     this time frame, you're possessing different guns.          Is that

25     correct?



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 25 of 33
                                                                         26

 1                 THE DEFENDANT:     Yes, Your Honor.

 2                 THE COURT:     And those guns were to keep you safe

 3     when you were buying and selling methamphetamine; is that true?

 4                 THE DEFENDANT:     Yes, Your Honor.

 5                 THE COURT:     In fact, I would imagine, Mr. Parton,

 6     most of the people in this organization had guns like you,

 7     right?

 8                 THE DEFENDANT:     Yes, Your Honor.

 9                 THE COURT:     And at some point, it looks like in this

10     plea agreement, I think you were trading guns to somebody for

11     methamphetamine; is that right?

12                 THE DEFENDANT:     Yes, sir.

13                 THE COURT:     Okay.   And Mr. Rhoades said this.     He

14     said that most of these transactions and most of your work was

15     in like Kansas City and St. Joe, the -- we call it the Western

16     District of Missouri on the Missouri side.          Is that correct?

17                 THE DEFENDANT:     Yes, Your Honor.

18                 THE COURT:     Mr. Rhoades, sir, have I covered the

19     elements of this sufficiently for this record?

20                 MR. RHOADES:     You have, Your Honor.     You did not

21     address specifically the money judgment, if the Court wants to

22     do that.

23                 THE COURT:     Okay.   Let's do that.    Thank you,

24     Mr. Rhoades.

25                 So, Mr. Parton, you're agreeing that a money



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 26 of 33
                                                                            27

 1     judgment can be entered against you, and that's going to be --

 2     as we discussed, as soon as -- we're going to try to figure out

 3     the amount of the weight of the drugs, and that will be

 4     multiplied times the street value of the drugs, and that will

 5     be a money judgment that will be assessed to you.          Do you

 6     understand that?

 7                 THE DEFENDANT:     Yes, Your Honor.

 8                 THE COURT:    And you're agreeing to that, correct?

 9                 THE DEFENDANT:     Yes, sir.

10                 THE COURT:    Okay.   All right.    Very good.       I'm going

11     to go forward.    Once again, Mr. Parton, we'll go back to any of

12     this stuff that you want to sort out further.

13                 So, Mr. Parton, you understand one of the first

14     things that we're going to do when we meet again is to

15     accurately calculate the sentencing guidelines.          And that's

16     listed in the plea agreement, you and your attorney have made

17     certain agreements with the government.        You recall that?

18                 THE DEFENDANT:     Yes, Your Honor.

19                 THE COURT:    And you've talked to Ms. Marshall about

20     the sentencing guidelines; is that correct, sir?

21                 THE DEFENDANT:     Yes, Your Honor.

22                 THE COURT:    And so, fortunately for me, I have

23     experts in that to help me.       Ms. Marshall is an expert,

24     Mr. Rhoades is an expert, and the United States Probation

25     Office, that's what they do, right?        But really --



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 27 of 33
                                                                           28

 1                 THE DEFENDANT:     Yes, sir.

 2                 THE COURT:    As long as you know that I'm the one who

 3     really calculates those.      I will listen to everybody, and

 4     sometimes we all agree, sometimes we disagree, but ultimately,

 5     the judge makes the decision on how they'll be calculated.            Do

 6     you understand that?

 7                 THE DEFENDANT:     Yes, Your Honor.

 8                 THE COURT:    So while Ms. Marshall is an expert in

 9     that, the best she can do is to give you an estimate on how

10     they'll be calculated.      She can't tell you exactly until we do

11     a presentence investigation and until the judge calculates

12     those.   Do you understand that?

13                 THE DEFENDANT:     Yes, Your Honor.

14                 THE COURT:    Okay.   So the guidelines -- once we

15     calculate the guidelines, that will generally give us a range

16     of punishment somewhere within the statutory range, sir.            But

17     we consider other things, Mr. Parton.        We consider things like

18     your history, your characteristics, your role in this offense,

19     the nature of this crime.      You know, your honesty with us

20     during the course of this and how you conduct yourself.          We

21     also look at things like the need to protect the public, the

22     need for deterrence, and many other things.         You understand the

23     guidelines don't necessarily control this.         You understand

24     that?

25                 THE DEFENDANT:     Yes, Your Honor.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 28 of 33
                                                                         29

 1                 THE COURT:    Okay.   Do you understand -- which means

 2     I can go above the guidelines or below the guidelines,

 3     depending on those other factors and where it takes us.          You

 4     understand that?

 5                 THE DEFENDANT:     Yes, Your Honor.

 6                 THE COURT:    You understand you're pleading guilty to

 7     three felony crimes, sir?

 8                 THE DEFENDANT:     Yes, sir.

 9                 THE COURT:    Have you ever been convicted of a felony

10     crime before, sir?

11                 THE DEFENDANT:     Yes, sir, in the state one time.

12                 THE COURT:    Okay.   What was the charge, sir?

13                 THE DEFENDANT:     It was a possession charge.

14                 THE COURT:    Okay.   So you understand, Mr. Parton,

15     you already know this, but I've got to tell you anyway, as a

16     convicted felon, you're likely to lose valuable civil rights.

17     Those rights include your right to vote, your right to hold

18     public office, your right to serve on a jury, your right to

19     possess firearms and ammunition.       You understand you're likely

20     to lose all of those rights if you haven't already?

21                 THE DEFENDANT:     Yes, Your Honor.

22                 THE COURT:    Okay.   Also by pleading guilty -- and

23     this is in your plea agreement referenced in Paragraph 14, but

24     I'll just tell you.      You're likely -- by pleading guilty,

25     you're waiving your right to trial.        You understand that, there



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 29 of 33
                                                                            30

 1     will be no trial?

 2                 THE DEFENDANT:     Yes, Your Honor.

 3                 THE COURT:    And by waiving your right to trial,

 4     Mr. Parton, you're also waiving your right to very important

 5     trial-related rights, which include your right to persist in

 6     and maintain your plea of not guilty; your right to trial by

 7     jury; your right to be represented by counsel, and, if

 8     necessary, have the Court appoint counsel at trial and every

 9     other stage of the proceeding; your right at trial to confront

10     and cross-examine adverse witnesses; to be protected from

11     compelled self-incrimination; to testify and present evidence;

12     and also to compel the attendance of your own witnesses.             By

13     pleading guilty, sir, you're waiving these important

14     trial-related rights.     Do you understand that, sir?

15                 THE DEFENDANT:     Yes, Your Honor.

16                 THE COURT:    Mr. Parton, I think you've done an

17     excellent job of answering my questions.         Thank you.      Do you

18     have any questions that remain that I can answer for you or

19     Ms. Marshall can answer for you, sir?

20                 THE DEFENDANT:     No, Your Honor.

21                 THE COURT:    All right.    We're going to do this

22     officially.    One moment, please.     I just realized --

23     Mr. Rhoades, is Count One a lesser included charge he's

24     pleading guilty to?

25                 MS. MARSHALL:    Yes, it is, Your Honor.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 30 of 33
                                                                            31

 1                 THE COURT:     Okay.

 2                 MR. RHOADES:     Let me look at the plea agreement,

 3     Judge.    I believe Ms. Marshall would know that off the top of

 4     her head in a second, but I think --

 5                 MS. MARSHALL:     Yes.    It's a C felony, Your Honor.

 6                 THE COURT:     Thank you.

 7                 MR. RHOADES:     It is reflected in the plea agreement,

 8     Your Honor, as a (b)(1)(C), and that would be a lesser

 9     included.   That's correct, Your Honor.

10                 THE COURT:     All right.     So, Mr. Parton, you

11     understand, Count One -- I didn't cover this, but your attorney

12     knew this right off the bat because she worked very hard to get

13     this for you, I'm sure -- that Count One is a lesser included

14     offense than what you were originally indicted on.          That's part

15     of your benefit.     Do you understand that?

16                 THE DEFENDANT:     Yes, sir.

17                 THE COURT:     Okay.     And you knew that, too, didn't

18     you, Mr. Parton?

19                 THE DEFENDANT:     Yes, Your Honor.

20                 THE COURT:     Yeah.     All right.   So let's do this

21     officially.

22                 To Count One, the lesser included charge in the

23     third superseding indictment, do you plead guilty or not

24     guilty?

25                 THE DEFENDANT:     Guilty, Your Honor.



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 31 of 33
                                                                           32

 1                 THE COURT:    Then to Count Two of the third

 2     superseding indictment, that's the money laundering, do you

 3     plead guilty or not guilty?

 4                 THE DEFENDANT:     Guilty, Your Honor.

 5                 THE COURT:    And then to Count Four of the third

 6     superseding indictment, that is the gun charge, do you plead

 7     guilty or not guilty?

 8                 THE DEFENDANT:     Guilty, Your Honor.

 9                 THE COURT:    Very well.    It is the finding of this

10     Court in this case that Mr. Parton is fully competent and

11     capable of entering an informed plea, that he's aware of the

12     nature of the charges and the consequences of this plea, and

13     that this plea of guilty is a knowing and voluntary plea

14     supported by an independent basis in fact containing each of

15     the essential elements of the offense.        Sir, your plea of

16     guilty is, therefore, accepted, and you are now adjudged guilty

17     of the offenses charged in Count One, the lesser included,

18     Count Two, and Count Four of the superseding indictment.

19                 Mr. Parton, sir, the way this works is I'm going to

20     order a presentence investigation to be completed.          I would

21     encourage you to cooperate with the report writer so we can get

22     a clear and accurate picture of you and this offense.            As soon

23     as that's complete, we'll meet again, we'll calculate the

24     guidelines, and we'll work on a sentencing.

25                 Mr. Rhoades, sir, is there anything else on behalf



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 32 of 33
                                                                        33

 1     of the government at this time?

 2                 MR. RHOADES:     No, Your Honor.

 3                 THE COURT:     Thank you, sir.     Ms. Marshall, is there

 4     anything else on behalf of your client, ma'am?

 5                 MS. MARSHALL:     No, Your Honor.

 6                 THE COURT:     Thank you.     Good luck to you,

 7     Mr. Parton.    That will conclude this case.       Thank you.

 8                 THE DEFENDANT:     Thank you, Your Honor.

 9                 (Videoconference concluded.)

10                                       - - -

11                                      - - -

12                                    CERTIFICATE

13                 I certify that the foregoing transcript of

14     proceedings heard by the Court via videoconference is correct

15     to the best of my ability due to limitations of the technology

16     used.

17

18

19      February 3, 2022

20                                      /s/____________________________
                                        Kathleen M. Wirt, RDR, CRR
21                                      U.S. Court Reporter

22

23

24

25



     Case 4:18-cr-00293-DGK Document 544 Filed 02/03/22 Page 33 of 33
